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                           EXHIBIT 13
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 From:             Keller, John (CRM)
 To:               Lowell, Abbe
 Subject:          RE: Conflict Provision
 Date:             Wednesday, August 26, 2020 3:21:56 PM


 Abbe,

 After your call with the filter side this afternoon, we should move quickly to try to finalize this
 language so that we can get a revised signature page to you Ken and Mike in the USAO and you,
 Mac, and Ms. Lum Davis for signature.

 -John

 From: Keller, John (CRM)
 Sent: Tuesday, August 25, 2020 10:02 PM
 To: Lowell, Abbe <ADLowell@             >
 Subject: RE: Conflict Provision

 Thank you. Potential alternative language highlighted below.

 From: Lowell, Abbe <ADLowell@                       >
 Sent: Tuesday, August 25, 2020 9:53 PM
 To: Keller, John (CRM) <John.Keller@                      >
 Subject: RE: Conflict Provision

 Thank you for the clarification. I will talk with Ms. Davis, Mac, and now others and talk with you
 tomorrow.




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